IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

TENNESSEE STATE CONFERENCE
OF THE N.A.A.C.P., DEMOCRACY
NASHVILLE-DEMOCRATIC
COMMUNITIES, THE EQUITY
ALLIANCE, and ANDREW
GOODMAN FOUNDATION,

Plaintiffs,
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TRE HARGETT, in his official capacity
as Secretary of State of the State of
Tennessee, MARK GOINS, in his
official capacity as Coordinator of
Elections for the State of Tennessee,
HERBERT SLATERY II, in his official
Capacity as Attorney General of the State
of Tennessee, the STATE ELECTION
COMMISSION, and DONNA
BARRETT, JUDY BLACKBURN,
GREG DUCKETT, MIKE
MCDONALD, JIMMY WALLACE,
TOM WHEELER, and KENT
YOUNCE, in their official capacities as
members of the State Election
Commission,

Defendants.

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Case No. 3:19-CV-00365
Judge Aleta A. Trauger

DECLARATION OF JIMMY WALLACE

i, Jimmy Wallace have personal knowledge of the following matters, would so testify in

open court if called to do so, and am competent to render the following:

1. My name is Jimmy Wallace I am over 21 years old and reside in Henderson County,

Tennessee.

2. I currently serve as a member of the Tennessee State Election Commission.

3. Ihave served in this role since May 1995 and my term expires on April 30, 2023.

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4. I am aware of the new provisions regarding voter registration drives passed by the
Tennessee General Assembly and codified at Tenn. Code Ann. $§ 2-2-142, 2-2-143 & 2-
19-145,

5. Tenn. Code Ann. § 2-2-143 grants the State Election Commission the authority to assess
civil penalties against individuals or organizations who violate that section.

6. Tenn. Code Ann. § 2-2-143 also grants the State Election Commission the authority to
promulgate rules and procedures to implement its provisions.

7. Tenn, Code Ann. § 2-2-143 does not take effect until October 1, 2019,

8. The State Election Commission has not promulgated rules concerning the implementation
of Tenn. Code Ann. § 2-2-143.

9, The implementation of Tenn. Code Ann. § 2-2-143 does not meet the criteria for
emergency promulgation of rules under the Uniform Administrative Procedures Act,
Tenn. Code Ann. §§ 4-5-2061, ef seq.

10. The regular rulemaking process, including notice, a rulemaking hearing, review by the
Attorney General and Reporter, filing with the Secretary of State, and review by the
General Assembly’s Joint Government Operations Committee will take at a minimum
five months to complete, assuming that no changes in the rules are required. None of
these requirements have been fulfilled at this time. Additionally, the State Election
Commission will have to have a publicly-noticed meeting to begin the rule-making
process, as well as at least one more publicly-noticed meeting to approve the final draft of

the rules—all of which will add additional time to this process.

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11. In my role as a member of the State Election Commission, I do not intend to assess or
vote to assess any civil penalties against any organization or individual until the rules and
procedures for Tenn. Code Ann. § 2-2-143 have been promulgated.

12. In my role as a member of the State Election Commission, { do not intend to refer or vote
to refer any matters related to Tenn. Code Ann. § 2-2-142 to any district attorney general
for prosecution until the State Coordinator of Elections has promulgated rules regarding
this section.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
and correct,
Executed this 29" day of August, 2019.

\ of

iitimy Wallace

Election Commissioner

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